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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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                                                                          Case No. 2:23-cv-6188 (OEM)(ST)
 SUPERB MOTORS, INC., TEAM AUTO SALES LLC.,
 ROBERT ANTHONY URRUTIA, 189 SUNRISE
 HIGHWAY AUTO LLC., NORTHSHORE MOTOR
 LEASING, LLC., BRIAN CHABRIER, individually and
 derivatively as a member of NORTHSHORE MOTOR
 LEASING, LLC, JOSHUA AARONSON, individually and
 derivatively as a member of 189 SUNRISE HWY AUTO,
 LLC, JORY BARON, 1581 HYLAN BLVD AUTO LLC,
 1580 HYLAN BLVD AUTO LLC, 1591 HYLAN BLVD
 AUTO LLC, 1632 HYLAN BLVD AUTO LLC, 1239
 HYLAN BLVD AUTO LLC, 2519 HYLAN BLVD
 AUTO LLC, 76 FISK STREET REALTY LLC, 446
 ROUTE 23 AUTO LLC, and ISLAND AUTO
 MANAGEMENT, LLC,

                                    Plaintiffs,

                  -against-

 ANTHONY DEO, SARA DEO, HARRY THOMASSON,
 DWIGHT BLAKENSHIP, MARC MERCKLING,
 MICHAEL LAURIE, TOMAS JONES, CPA, CAR BUYERS
 NYC INC., GOLD COAST CARS OF SYOSSET LLC,
 GOLD COAST CARS OF SUNRISE LLC, GOLD COAST
 MOTORS AUTOMOTIVE GROUP LLC, GOLD COAST
 MOTORS OF LIC LLC, GOLD COAST MOTORS OF
 ROSLYN LLC, GOLD COAST MOTORS OF
 SMITHTOWN LLC, UEA PREMIER MOTORS CORP.,
 DLA CAPITAL PARTNERS INC., JONES LITTLE & CO.,
 CPA’S LLP, FLUSHING BANK, and LIBERTAS FUNDING,
 LLC,

                                    Defendants.

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                     DECLARATION OF ANTHONY DEO IN OPPOSITION
                      TO PLAINTIFFS’ 9/15/23 “EMERGENCY” FILING

         Anthony Deo, pursuant to 28 U.S.C. § 1746, declares under the penalty of perjury that the

 following is true and correct:
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       1. My name is Anthony Deo and I am a Defendant in the above captioned action. I have

          first-hand knowledge of the facts recited herein.

       2. As I set forth in my prior Declaration to this Court, if there is anything that is remotely

          considered an “emergency” by this Court, it is entirely of the Plaintiffs’ own making,

          particularly given that I have had no contact whatsoever with any Floor Plan provider

          since the LockOut, and not much contact with the Floor Plan providers before that.

       3. I have cooperated with each audit of the automobiles stored at my two lots in Syosset

          and Amityville since January, and will continue to do so when notified of any need for

          any Floor Plan provider to conduct more audits in the future.

       4. But the main point of this Declaration is that my attorney, Harry Thomasson, informs

          me that during the hearing before this Court, for which the Plaintiffs filed their

          “emergency” application twelve (12) minutes before the hearing began, Plaintiffs

          alleged (with Bruce Novicky and Anthony Urrutia present and silent) that 1) they never

          knew about my application for DMV licenses for my Gold Coast dealerships that were

          granted in early July; and 2) they never knew about the Flushing Bank account I set up

          for Superb and began utilizing before the LockOut.

       5. Those allegations are 100% false and constitute lies, your Honor.

       6. Attached hereto as Exhibit 1 is a true and accurate copy of the list of the cars provided

          by Plaintiffs last week to Defendants and to the Court, constituting 89 cars in total that

          Plaintiffs allege I “stole.”

       7. On the night of the LockOut, there were 102 cars that the police not only discussed

          with me, but provided a list that Bruce Novicky gave them.
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       8. I point this out to the Court because as we enter mediation on September 15, 2023,

          there are in excess of 50 cars on that list that I either do not have or that do not belong

          to Superb. Remember, your Honor, Urrutia, his Team Auto, and Bruce Novicky

          controlled the finances at Superb (with daily reconciliations), controlled the Floor Plans

          at Superb (I never had any Floor Plan privileges, and Floor Plans were reconciled at

          least weekly), and also controlled all paperwork at Superb (neither me nor any of my

          co-Defendants had any authority or ability to prepare any paperwork at Superb).

          Plaintiffs can create and show anything they want to this Court that is produced by

          Superb, because they still control everything at Superb.

       9. I am deeply and genuinely concerned about this list, your Honor, because if this Court

          Orders me to give back the cars that I have marked as not belonging to Superb or not

          in my possession, I cannot give them back; this seems intentional on the part of the

          Plaintiffs to make these allegations to blame me for whatever purposes they have with

          the dealership formerly known as Superb (I have personally seen that the name is

          changed and there is no longer any website).

       10. Again, I do not even believe Superb still exists, and I’ve been utilizing six (6)

          automobiles as demos since December with Plaintiffs’ full knowledge and approval.

       11. Attached hereto as Exhibit 2 is a true and accurate copy of emails and texts between

          me, Tony Urrutia, and Bruce Novicky indicating the efforts that were made to 1) gain

          a promised floor plan for the Gold Coast dealerships with Tony’s and Bruce’s offered

          help; they were fully informed about my Syosset and Amityville licenses and

          applications therefore; 2) celebrate the awarding of the licenses in early July (please

          note the text that I sent to Tony celebrating “back on line” with my new licenses and
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          an emoji of a man celebrating); and 3) give them a copy of the Official Business

          Certificate in further celebration.

       12. Exhibit 2 inarguably indicates that Urrutia and Novicky not only knew of my Gold

          Coast licenses, but they also supported it and offered to help with the Floor Plans for

          both locations. To the extent that Plaintiffs and their lawyers have made statements in

          writing and verbally at the hearing to the contrary, they are proven liars by Exhibit 2.

       13. Attached hereto as Exhibit 3 are true and accurate copies of emails commencing in

          March, 2023, proving that the Flushing Bank account was fully known to these

          Plaintiffs; this was in connection with the planned finalizing of my purchase of the

          remaining shares of Superb from Anthony Urrutia; amazingly, your Honor, please look

          closely at this Exhibit: Anthony Urrutia forwarded me the Certificate of Incorporation

          of Superb for the exact purpose of opening the Flushing Bank account. The Certificate

          was forwarded to me by Urrutia on April 3, 2023, in a chain with Bruce Novicky after

          they obtained the Certificate from the emailers that originally did the work for Urrutia.

       14. Exhibit 3 inarguably indicates that Urrutia and Novicky not only knew of the opening

          of the Flushing Bank account, but actively supported and assisted in that account

          opening. To the extent that Plaintiffs and their lawyers have made statements in writing

          and verbally at the hearing to the contrary, they are proven liars by Exhibit 3.

       15. My lawyer tells me that one cannot seek equity with “unclean hands.” If so, then I ask

          this Court to fully deny the equity sought by Plaintiffs, whether as an “emergency” or

          otherwise, as they are setting me up by lying to this Court, and thus, have unclean hands

          and should not be able to obtain any requested relief, including their so called

          “emergency” application a few minutes before the hearing earlier.
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